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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA CASE NUMBER:

2:19-cr-642-V AP; 2:20-cr-155-VAP
PLAINTIFF(S)

 

IMAAD SHAH ZUBERI NOTICE OF MANUAL FILING
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